         Case 1:20-cv-05945-JMF Document 28 Filed 11/06/20 Page 1 of 1




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Suite 1212
Brooklyn, New York 11242                                        Given the presumption in favor of an adjudication on the
                                                                merits, the Court is unlikely to grant the motion for a
                                   November 4, 2020             default judgment. Counsel shall confer and, no later than
                                                                November 12, 2020, Plaintiff shall file a letter indicating
BY ECF                              whether it consents to withdrawal of the motion. In the meantime, the deadline for
                                    Defendant Haughey to file his opposition to Plaintiff's motion for default judgment is
Honorable Jesse M. Furman           extended to November 18, 2020, and the default judgment hearing is ADJOURNED
United States District Court        to December 9, 2020, at 4 p.m. Per the Court's prior order, the parties shall be
Southern District of New York       prepared to treat that conference as the initial pretrial conference as well. The Clerk
40 Foley Square                     of Court is directed to terminate ECF No. 28. SO ORDERED.
New York, New York 10007

                             Re: Kemper Insurance Company vs Anthony Porto Jr., and
                                                                                    November 6, 2020
                                 William Haughey,
                                 Case No 1:20 -cv – 05945- JMF

Dear Judge Furman:

I am the attorney for Mr. William Haughey the defendant in the above declaratory action. I also
represent Mr. Haughey in a civil claim as against his co-defendant Mr. Anthony Porto Jr, under
docket number 18 CV 2861 (KBF) which is referred to as the Underlying Action.

I am in receipt of the plaintiff’s Motion for Default Judgment and have reviewed same. I have
also reviewed the underlying complaint and supporting documents as of this filing.

I note that on October 28, 2020 a Clerk’s Certificate of Default was filed and plaintiffs were
directed to file a further Motion for Default Judgment. I communicated with plaintiff’s counsel
initially by email and then via phone informing them I had returned from overseas, was
recovering from Covid and intended to seek permission of the Court to vacate the default and
submit an Answer. I asked for their consent to avoid unnecessary motion practice or expenditure
of Court resources. Counsel had taken the position that since the Court had set a schedule and
directed them to submit a Motion for Default, they had no ability to consent to my request but
would not take a position otherwise.

As such I submit this Letter Motion asking that the court stay entry of any ruling on defendant’s
motion for default for a period of two (2) weeks up to and including November 18, 2020,
pending my submission of a motion to vacate said default. In the alternative I respectfully ask
that the Court schedule a conference call between the parties herein.


                                                 Very truly yours,
                                                 Rita Dave
                                                 Rita Dave
